                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

CANAL INDEMNITY COMPANY,                        §
                                                §
      Plaintiff,                                §
                                                §
v.                                              §                  Civil Action No.: 4:19-cv-02945
                                                §
COASTAL TRANSPORT CO., INC., et al.             §
                                                §
      Defendants.                               §

             APPENDIX OF CANAL’S SUMMARY-JUDGMENT EVIDENCE


 EXHIBIT 1          Original Complaint filed in the underlying wrongful death lawsuit styled
                    Mary Major, individually, and as the representative of the Estate of Elwyn
                    Webb, and Joshua Webb v. SFPP, L.P., et al., Case No. CV2018-003217;
                    Superior Court of Arizona, Maricopa County.
                    [Bates PSXCAN00000005-20]

 EXHIBIT 2          Canal Commercial Auto Policy No. LH01508, effective November 15, 2001
                    to July 1, 2002 (the “2001 Auto Policy”)
                    [Bates CANAL 000706-000798]

 EXHIBIT 3          Canal Commercial Auto Policy No. L037588, effective May 1, 2004 to
                    March 15, 2005 (the “2004 Auto Policy”)
                    [Bates CANAL 000467-000505]

 EXHIBIT 4          Canal Commercial Auto Policy No. L037755, effective March 15, 2005 to
                    May 1, 2006 (the “2005 Auto Policy”)
                    [Bates CANAL 000539-000644]

 EXHIBIT 5          Canal Commercial Auto Policy No. L045542, effective May 1, 2006 to May
                    1, 2007 (the “2006 Auto Policy”)
                    [Bates CANAL 000645-000705]

 EXHIBIT 6          Canal Commercial Auto Policy No. L060240, effective May 1, 2007 to May
                    1, 2008 (the “2007 Auto Policy”)
                    [Bates CANAL 000026-000077]

 EXHIBIT 7          Canal Commercial Auto Policy No. PDA00788501, effective May 1, 2008 to
                    May 1, 2009 (the “2008 Auto Policy”)
                    [Bates CANAL 000233-000363]



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EXHIBIT 8    Canal Commercial General Liability Policy No. CGL014504, effective June
             7, 2003 to May 15, 2004 (the “2003 CGL Policy”)
             [Bates CANAL 000799-000830]

EXHIBIT 9    Canal Commercial General Liability Policy No. CGL014507, effective May
             15, 2004 to March 15, 2005 (the “2004 CGL Policy”)
             [Bates CANAL 000839-000869]

EXHIBIT 10   Canal Commercial General Liability Policy No. CGL014511, effective
             March 15, 2005 to May 1, 2006 (the “2005 CGL Policy”)
             [Bates CANAL 000883-000930]

EXHIBIT 11   Canal Commercial General Liability Policy No. CGL014515, effective May
             1, 2006 to May 1, 2007 (the “2006 CGL Policy”)
             [Bates CANAL 001001-001021]

EXHIBIT 12   Canal Commercial General Liability Policy No. PDA00248901, effective
             May 1, 2007 to May 1, 2008 (the “2007 CGL Policy”)
             [Bates CANAL 000364-000419]

EXHIBIT 13   Canal Commercial General Liability Policy No. PDA00788701, effective
             May 1, 2008 to May 1, 2009 (the “2008 CGL Policy”)
             [Bates as CANAL 000079-000232]

EXHIBIT 14   Master Motor Carrier Services Agreement between Conoco and Coastal,
             dated September 15, 2005
             [Bates PSXCAN00003423-3445]

EXHIBIT 15   Transportation Services Agreement between Valero and Coastal, dated
             January 1, 2006
             [Bates CANAL 002187-002215]

EXHIBIT 16   Declaration of Doug Rush, dated January 11, 2021

EXHIBIT 17   Deposition Transcript of Eugene Martin, dated March 6, 2019 taken in the
             Underlying Suit
             [Bates PSXCAN00000774-834]

EXHIBIT 18   Report of John Spencer, dated July 22, 2019 produced in Underlying Suit
             [Bates PSXCAN00003243-3295]

EXHIBIT 19   Affidavit of Cyrus W. Haralson, dated January 22, 2021




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